        Case 2:15-cr-00234-JAM Document 84 Filed 06/27/17 Page 1 of 2


     John Balazs, Bar. No. 157287
1    Attorney at Law
     916 2nd Street, Suite F
2    Sacramento, California 95814
     Telephone: (916) 447-9299
3    Facsimile: (916) 557-1118
     john@balazslaw.com
4
     Attorney for Defendant
5    BROOK MURPHY
6
7
8
9                                         UNITED STATES DISTRICT COURT
10                                    EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                         No. 2:15-CR-0234-JAM

13                           Plaintiff,                STIPULATION AND ORDER

14             v.
                                                       Sentencing:
15   BROOK MURPHY,                                     Date: August 29, 2017
                                                       Time: 9:15 a.m.
16                           Defendant.                Hon. John A. Mendez

17
18             Defendant, BROOK MURPHY, by and through his attorney, John Balazs, and plaintiff,
19   UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney Jason
20   Hitt, hereby stipulate to extend the sentencing schedule as follows:

21
               Sentencing:
22
               Informal objections to Draft PSR due:               August 1, 2017
23
24             Final PSR due:                                      August 8, 2017

25
               Motion for Correction of PSR                        August 15, 2017
26
               Reply or Statement of Non-Opposition                August 22, 2017
27
28             Judgment and Sentencing Date                        August 29, 2017

     Stipulation and Order                               1
        Case 2:15-cr-00234-JAM Document 84 Filed 06/27/17 Page 2 of 2



1              This request is made because the defendant needs additional time to provide information

2    to the probation officer and to prepare for sentencing.

3    Dated: June 26, 2017                          Dated: June 26, 2017

4
     PHILLIP A. TALBERT
5    United States Attorney

6
      /s/ Jason Hitt                                /s/John Balazs
7    JASON HITT                                    JOHN BALAZS
     Assistant U.S. Attorney
8
     Attorney for Plaintiff                        Attorney for Defendant
9    UNITED STATES OF AMERICA                      BROOK MURPHY

10
11                                                 ORDER

12             IT IS SO ORDERED.

13   Dated: 6/26/2017

14                                          /s/ John A. Mendez____________
                                            HON. JOHN A. MENDEZ
15                                          United States District Court Judge

16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order                             2
